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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

CASE NO.        22-cr-00329-RMR

UNITED STATES OF AMERICA,

       Plaintiff,

v.

LEWIS BURTON RIDGEWAY,

      Defendant.
______________________________________________________________________________

    UNOPPOSED MOTION FOR LEAVE TO FILE REPLY TO UNITED STATES’
      RESPONSE (DOC. NO. 32) TO DEFENDANT’S MOTION TO SUPPRESS
                 EVIDENCE AND STATEMENTS (DOC. NO. 25)
______________________________________________________________________________

       Lewis Burton Ridgeway, through counsel, Assistant Federal Public Defenders Jennifer Beck

and Amy Senia, respectfully requests leave to file a Reply to the United States’ Response to Mr.

Ridgeway’s Motion to Suppress Evidence and Statements (Doc. Nos. 25, 32). In support of his

request, Mr. Ridgeway states the following:

       On March 7, 2023, Mr. Ridgeway filed a Motion to Suppress Evidence and Statements. Doc.

No. 25. On March 10, 2023, the Court issued an Order setting a hearing on the Motion to Suppress

for March 22, 2023. Doc. No. 28. On March 17, 2023, the government filed a Response. Doc. No.

32.

       With respect to filing reply briefs, this Court’s Practice Standards state: “no replies shall be

allowed unless specifically granted by the Court.” RMR Practice Standards, III.D.2. Therefore, Mr.

Ridgeway respectfully moves this Court for Leave to file a Reply to the government’s Response (Doc.

No. 32) to Mr. Ridgeway’s Motion to Suppress Evidence and Statements (Doc. No. 25).


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        Counsel believes a Reply would materially aid the Court in assessing some of the legal disputes

raised by the government’s Response. In his Reply, Mr. Ridgeway does not intend to address all of the

arguments raised in the government’s Response given that many of the contested issues turn largely

on factual disputes that will be litigated and resolved at the scheduled hearing on the Motion. However,

the filing of a Reply may abbreviate or streamline arguments of the parties at the hearing. The Reply

is attached as Exhibit A. Should the Court grant leave to file the Reply, counsel will file it separately

through PACER. The government, through Assistant United States Attorney Al Buchman, does not

oppose Mr. Ridgeway’s request to file a Reply.

        For the above reasons, Mr. Ridgeway respectfully requests leave to file a Reply the

Government’s Response to his Motion to Suppress Evidence and Statements.

        DATED this 20th day of March 2023.

                                                 Respectfully submitted,

                                                 VIRGINIA L. GRADY
                                                 Federal Public Defender

                                                 s/ Jennifer Beck
                                                 JENNIFER BECK
                                                 Assistant Federal Public Defender
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                                                 Attorney for Defendant

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                                 CERTIFICATE OF SERVICE

      I hereby certify that on March 20, 2023, I electronically filed the foregoing Unopposed
Motion For Leave To File Reply To United States’ Response (Doc. No. 32) To Defendant’s
Motion To Suppress Evidence And Statements (Doc. No. 25) with the Clerk of Court using the
CM/ECF system which will send notification of such filing to the following e-mail address:

       Al Buchman, Assistant United States Attorney
       Email: Al.Buchman@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non-
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s name:

       Lewis Burton Ridgeway (Via U.S. Mail)

                                              s/ Jennifer Beck
                                              JENNIFER BECK
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                                              Attorney for Defendant




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